     Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 1 of 8 PageID #: 820
 1        IN THE UNITED STATES DISTRICT COURT                                                                       Page 13
          FOR THE SOUTHERN DISTRICT OF INDIANA
 2             INDIANAPOLIS DIVISION                                1    those kind of things, was the daily. But as far
 3       Civil Action No. 1:17-cv-03257-TWP-MPB
 4   DOUGLAS J. GOSSER, as Personal )
                                                                    2    as offenders fighting -- or excuse me -- I'm
     Representative OF THE ESTATE OF )                              3     used to calling the guys that I have at the
 5   BRIAN LEE GOSSER,             )
                                                                    4     prison offenders, but I know that ones at the
 6        Plaintiff,   )                                            5    county are still considered inmates. The
 7       -vs-          )                                            6    inmates weren't -- they weren't fighting on a
 8 HENRY COUNTY SHERIFF'S                                           7    daily basis. I mean, we weren't going back and
    DEPARTMENT, RICHARD A. MCCORKLE,)
 9 individually and in his official)                                8     breaking up fights on a daily basis. It was
    capacity as Jail Commander of )
10 the Henry County Jail, OFFICER )                                 9    just that -- it was just their total lack of
    ROBERT HUXHOLD, OFFICER TERESA )                                      respect. The inmates just had no respect for us
1 1 WEESNER, OFFICER CLARK LECHER, )
                                                                   10
    individually and in their    )                                 11    as officers.
12 official capacities as        )
    Correctional Officers, QUALITY )                               12   Q Was there any reason why that might be the case
13 CORRECTIONAL CARE, LLC,                )
    CHRISTOPHER STEPHENSON, P.A                                    13    that you could imagine?
14 TARA WESTERMAN, R.N., and              )
    DENETTE LEWARK, R.N.,
                                                                   14         MS. POLLACK: Well, I'll object to asking
15                                                                 15     her to speculate.
            Defendants.         )
16                                                                 16   A Yeah, I don't want to -- I can't really say why.
            DEPOSITION OF TERESA M. WEESNER
17                                                                 17   Q No particular --
          The deposition upon oral examination of
18 TERESA M. WEESNER, a witness produced and sworn
                                                                   18   A Because that would be more speculation.
     before me, Judith E. Bellinger, RPR, CRR, CSR No.             19   Q You're not aware of any specific reason why that
19 94-R-1044, a Notary Public in and for the County of
     Marion, State of Indiana, taken on behalf of the              20     would be the case?
20 Plaintiff at the offices of Pollack Law Firm, P.C.,
     10333 North Meridian Street, Suite 111,                       21   A No, no.
21 Indianapolis, Marion County, Indiana, on the 14th
     day of November, 2018, commencing at the hour of
                                                                   22   Q From an inmate population standpoint, what would
22 1:14 p.m., pursuant to the Rules of Federal                     23     you say, was it overcrowded, or was it about
     Procedure with written notice as to the time and
23 place thereof having been given.                                24     right that last year?
24
25                                                                 25   A The overcrowding became more when the court
                                                         Page 12                                                     Page 14
  1  I was told it was my fault on his part, why he                 1  system changed the levels of incarceration.
 2   was going to -- why he made threats towards me.                2    They started assigning L6?
 3   Courts didn't do anything to them. You know,                   3 A Yeah. When we went to the L6s that started
 4   they would get the -- we would attempt to bring                4  staying at the county level, that's when the
 5   the charges against them and then they would                   5   true issues -- we started seeing more of the
 6   drop them. So the inmates were gaining control.                6   overcrowding issues.
 7 Q Was this just in the last year that you were                   7     Now, you say you didn't have any support from
 8   there?                                                         8   upper staff within the jail, the commander,
 9 A It progressively got worse, but I would have to                9   sheriff. Is that who you were referring to?
10   say the last year was the worst.                              10 A Yes.
1 1 0 How often would you say that -- well, would                  11     Would that be only in relation to certain --
12   there be occasions where you would ask or need                12   bringing charges against inmates, or would that
13   to impose discipline on an inmate for certain                 13   be in relation to other things that you were
14   conduct and that not be supported by upper                    14   needing within the jail?
15    management?                                                  15 A M ost of what I'm referring to is if we had an
16 A All the time.                                                 16   inmate that was back there just raising all
17 Q What types of -- well, see, I'm going to ask one              17   kinds of cain and we could not -- you know,
18   of those bad questions. I'm going to stop                     18   they're yelling, screaming, kicking. We
19    myself.                                                      19   couldn't get them calmed down. You know, they
20       How often would you say there were fights                 20   were demanding to speak to the sheriff. They
21   within the jail?                                              21   were demanding to speak to the major. They were
22 A It was not -- it wasn't like a daily or weekly.               22   demanding to speak to the jail commander.
23    Maybe once a month. I mean, it was not like it               23       I completely understand the sheriff had
24    went on on a daily basis. The yelling, the                   24   other jobs that needed to be done. But the jail
25   screaming, the pounding, the cussing you out,                 25   commander would not come back and talk to him.

[11/14/2018] Weesner, Teresa 11-14-18                                                                     Pages -, 12, 13, 14
   Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 2 of 8 PageID #: 821

                                                       Page 15                                                        Page 17

 1 Q Did you feel that the -- and I'm only going to              1   had just one of the automatic cuffs that we put
 2   focus on this last year that you were there in              2   on their arm hit the button and --
 3   2016 -- did you  feel like it was  a safe                   3 0   Automatically?
 4   environment for jail officers?                              4 A  -- it automatically told us all the numbers.
 5 A Absolutely not.                                             5 Q So there wasn't really any science to it, you
 6 Q Would you say it was a       safe environment   for         6   just had to read where --
 7   medical providers coming into the jail?                     7 A As long as you could put that cuff on and put
 8 A I do not feel like their lives were threatened              8   the little thing on your finger and read the
 9   like ours was, because they had the      -- they had        9   number, that's what we used.
10   the ability to go to a locked door. They did               10 Q Were you ever provided with any instructions in
11   not -- if someone was being -- the yelling,                11   terms of medical protocols that jail officers
12   screaming, ready, you know, banging, they did              12   were to use for sick calls, for example, for
13   not have to put themselves into that position.             13   inmates?
14 Q   When    you came,  did you   have  any -- when  you came 14 A   We had a book like yours there, that had
15   to the jail, when you started working at the               15   protocols    in them. If somebody was, like,
16   jail back in 2009 you said --                              16   having bleeding, or, you know, if they felt like
17 A Uh-huh.                                                    17   they were having a heart attack, you know, if
18 Q -- did you have any specific medical training or           18   they felt like -- we would go to that book.
19   knowledge before you came to the jail?                     19   There would be a paper that said, you know,
20 A No.                                                        20   check    this, this, and this, and we would fill
21 Q Did you receive training, medical training, of             21   that   out. And then we would call, if there was
22   any type when you started working at the jail?             22   no nursing staff on call -- and the only time we
23 A Just we did CPR training       and we  were  showed   how  23    used that was if there was no nursing staff on
24   to use the automatic blood pressure cuffs, I               24   call.
25   assume that's what you actually call them, but             25 Q Sure.
                                                       Page 16                                                        Page 18

  1     the automatic cuffs. We never used, like, the                1 A We would use that book. We would fill out the
  2     stethoscopes. That's basically all the training              2   i nformation. And then we would call whoever,
  3     that we did.                                                 3   whatever nurse, QMA, whatever, was on call, we
  4   Q First aid training?                                          4   would call them, present them the information,
  5   A No.                                                          5   and then they would give us instructions on what
  6   Q  Did  you   ever  receive   first aid training?              6   to  do further.
  7   A Not that I remember.                                         7      Were you provided with a copy of those
  8   Q Did you ever receive any specific training -- I              8   protocols, or did you just have access to them?
  9     say "you,"    I mean   officers.   Were    officers          9 A   They were -- like I said, they were in a book
 10     trained in any way to take vitals of inmates?               10   like that, that we kept in the booking area at
 11   A Other than using the automatic blood pressure               11   all times. So we would flip through, find which
 12     cuff. That    was  it.                                      12   one    we needed, make a copy. That was our master
 13   Q Were you taught how to take a pulse?                        13   copy, so we'd make a copy of it and fill it out
 14   A The blood pressure cuff that we had, had the                14   from there.
 15     pulse rating on it.     But as  far as  --  nothing         15        I'm not sure what they called that book.
 16     manual. We didn't do, like, the manual arm                  16 0 I'm going to hand you what's been previously
 17     thing or the stethoscopes thing. We did it all              17    marked as Deposition Exhibit 24, just for
 18     on the one machine.                                         18    identification  purposes.
 19   Q So there was actually a machine that you                    19       (Deposition Exhibit 24 previously marked
 20     utilized?                                                   20   for identification.)
 21   A Yes, we had one of        the  -- we  had   actually one of 21      You can flip through that, if you'd like.
 22     the little -- I'm horrible with what these                  22         Is that what you're referring to?
 23     things are called -- but to check your oxygen               23 A We never had -- like, we never had restraint
 24     levels, or whatever, they put it on the                     24    protocols. These are new protocols that we --
 25     fingertip. We had one of those. And then we                 25   this one is more similar (indicating).

[11/14/2018] Weesner, Teresa 11-14-18                                                                           Pages 15 - 18
   Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 3 of 8 PageID #: 822
                                                 Page 46                                                    Page 48

  1   that they're supposed to watch. If they see           1     transcription of that discussion?
 2    anything out of line, to alert us to say, "Hey,       2   A No.
 3    you might want to see this.                           3   Q In advance of today's deposition, did you see a
 4  Q  Did you have any further interactions with Brian     4     copy of that transcription?
 5    Gosser, say, after February -- from                   5   A I saw it yesterday. I did see it yesterday.
 6    February 27th on?                                     6     That's the first I had seen.
 7 A I can't remember any hands-on with him, no.            7   Q First time you saw it?
 8 Q Were you ever asked to monitor his condition or        8   A First time I saw a copy of it, yes.
 9    anything of that nature?                              9        (Weesner Exhibit 49 marked for
10 A I honestly cannot remember.                           10     identification.).
1 1 Q Were you aware that he went to the emergency         11         MS. POLLACK: So what it is it 50?
12    room?                                                12         MR. HALBERT: 49.
13 A I did know that, yes.                                 13         MS. POLLACK: 49.
14 Q Who told you that?                                    14   BY MR. HALBERT:
15 A That would have been at our shift reports.            15   Q So Ms. Weesner, I'll represent to you that this
16 Q Were you aware of anything relative to the -- to      16     is the transcription of the conversation you had
17    any diagnoses that he received at the hospital?      17     with Detective Manning of the Henry County
18 A No.                                                   18     Sheriff Department on February 22nd, 2016, that
19 Q Did you ever have any specific discussions with       19     was provided to us by Henry County.
20    Commander Grider or Sheriff McCorkle about what      20   A Okay.
21    you and Mr. Huxhold saw that night?                  21   Q And I'm not going to -- if you want to read it,
22 A With them, no.                                        22     you can, to ensure that I'm not telling you
23 Q Did you have discussions with others?                 23     something that's not true.
24 A Detective Manning called us over to do whatever,      24   A I did read over it yesterday and it --
25    the interview. Whatever you -- I don't know          25   Q So you've seen it?
                                                 Page 47                                                    Page 49
 1   what --                                                1   A I've seen it, yes. And I did notate yesterday
 2 Q The interviews as part of the investigation?           2     they have my middle initial wrong.
 3 A Investigation, yes.                                    3   Q Okay. What is your middle initial?
 4 Q Do you know whether that was before or after           4   A M as in Mary.
 5   Mr. Gosser was -- had died? Don't know?                5   Q Well, we found that sometimes the transcription
 6 A I do not recall when we actually -- I cannot --        6     doesn't necessarily come through clear either
 7   I cannot tell you honestly off the top of my           7     so.
 8   head.                                                  8   A And I didn't know if it made any difference.
 9 Q Do you recall where that interview took place?         9     But the rest of it seems to be all in order,
10 A Over, I guess at that time it was our old annex,      10     however.
11   but it became the criminal investigations             11   Q Do you recall how long this discussion lasted?
12   division.                                             12   A It didn't -- did not seem like I was over there
13 Q And who asked you to come over?                       13     very long. They did it while I was on shift.
14 A Ed Manning, Detective Manning.                        14     Just, "Hey, we need her to come over and talk to
15 0 Did anyone let you know in advance that they          15     her.
16   were going to be asking to speak to you?              16         But as far as lasting any long amount of
17 A No.                                                   17     time, I don't believe it did.
18 Q No? Do you recall whether that was a recorded         18   Q Did you know who Brian Gosser was?
19   conversation?                                         19   A Yes.
20 A I believe, yes. Yes, I remember Ed -- or              20   Q Who was he?
21   Detective Manning saying that he was going to --      21   A The son of the former Rush County Sheriff.
22   he had the little tape recorder on the desk.          22   Q And that would be Doug Gosser, correct?
23 Q Did you ever hear the audio of that discussion?       23   A Yes.
24 A No.                                                   24   0 And did you know that before February 26th of
25 Q Did you ever receive or review a copy of the          25     2016?

[11/14/2018] Weesner, Teresa 11-14-18                                                                  Pages 46 - 49
   Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 4 of 8 PageID #: 823
                                                  Page 50                                                       Page 52
  1   A Yes.                                                 1     don't mind.
  2   Q And how did you know that?                           2   A  Okay.
  3   A Because when they -- when he came in -- or while     3   Q   If you'll turn to page 3.
  4     he was there, at some point, they're, like,          4   A  (The witness complies.)
  5    "Doug Gosser's his father." I knew Doug               5   Q   Detective Manning asked you a question, "You had
  6     Gosser -- not personally -- but I can                6     seen him previously to this, did he have a black
  7     remember -- I remember my mother speaking of         7     eye then?"
  8     him. She dealt with him with her job. And            8          Do you see that question?
  9     that's how I -- how I knew.                          9   A Yes.
 10   Q Were you ever made aware that there was -- that     10   Q And you indicate "Just the redness, seemed to
 11     that fact was known throughout the jail, or at      11     have the redness because I believe, if I
 12     least in F Block, that Brian Gosser was Doug's      12     remember right (sic)."
 13     son, the son of a former sheriff?                   13          It was because of the previous incident,
 14   A Yes.                                                14     correct?
 15   Q How were you made aware of that?                    15   A Yes.
 16   A All the inmates were talking about it.              16   Q That was the B Block that you weren't present
 17   Q Before February 26th?                               17    for?
 18   A Uh-huh, yes.                                        18   A Right.
 19   Q What inmates?                                       19   Q Now, you also indicate that "I believe it was
 20   A All the -- I can't specific -- but all the          20     Officer Blake that moved him to F. Block (sic)."
 21     blocks was talking about, "Is he really?"           21   A Yes.
 22        "I don't know. Is he?"                           22   Q How do you know that?
 23         I mean, we didn't -- we didn't confirm or       23   A On that -- Blake was working with us. He was on
 24     deny.                                               24     our shift. And like I stated previously, we
 25   Q So they were asking questions?                      25     would have our different areas we would work in.
                                                  Page 51                                                       Page 53
  1   A Yes.                                                 1       Most of the time the guys did the work back in
  2   Q Had you had other -- in your -- how many years       2       the back, as far as passing trays, moving
  3     were you at the jail, seven?                         3       inmates in and out of blocks, bringing them back
  4   A Seven.                                               4       and forth to court. I stayed in the booking
  5   Q Eight?                                               5       area a lot and did the paperwork, as far as the
  6   A Eight, yeah. Something like that.                    6       bookings, as far as court paperwork, things like
  7   Q Had you had other law enforcement relatives in       7       that. The day-to-day paperwork that we had to
  8     the jail as detainees?                               8       get done, basically, was what I did a lot of.
  9   A Yes.                                                 9       J ust because the guys did not like doing the
 10   Q And on those occasions, did you ever make -- or     10       paperwork.
 11     have to make special arrangements in terms of       11   Q    Typical. Do you know if that move was approved
 12     where they were housed?                             12       by Commander Grider prior to Brian being moved
 13   A No.                                                 13       to F Block?
 14   Q Were you ever asked to?                             14   A    I cannot say yes or no on that question.
 15   A No.                                                 15   Q     But you indicated that you had only seen some
 16   Q Would you have had the ability to?                  16       bruising on his face and some redness?
 17   A Not -- no.                                          17   A    Yes.
 18   Q And why not?                                        18   Q    At least prior to that?
 19   A There was no room. The housing -- that was just     19   A    Yes.
 20     not something -- didn't have seclusion cells.       20   Q    Prior to February 26th when you guys actually
 21     There were no seclusion cells to do that with       21       went into F Block?
 22     them.                                               22   A    Yes.
 23   Q So as I said, I'm not going to necessarily go       23   Q     Did you ever speak to any of the inmates in
 24     through the entirety of your statement. I just      24       F Block about Brian and why he had bruises on
 25     want to focus on a couple of points, if you         25       his face and things of that nature?

[11/14/2018] Weesner, Teresa 11-14-18                                                                     Pages 50 - 53
      Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 5 of 8 PageID #: 824
                                                   Page 54                                                    Page 56
  1   A Absolutely not.                                       1       When they got outside the block, they read
  2   Q And on page 4, towards the bottom, that's where       2   it and that's what it had stated.
  3     you indicate there that you did get off at 7:00       3 0 Did you ever see that note?
  4     on February 26th?                                     4 A No, I did not.
  5   A Yes.                                                  5 Q Do you know who had the note?
  6   Q 7 p.m.?                                               6 A No, I did not.
  7   A Yes.                                                  7 Q Do you know who he gave the note to?
  8   Q All right. And then on page 5, when you come in       8 A No, I do not.
  9     to work on February 27th, 2016, at your normal        9 Q Do you know what happened to the note?
 10     time of 7 a.m., Brian was in the drunk tank          10 A No, I do not. I never -- that's just what we
 11     correct?                                             11   were told. But as far as us every seeing it,
 12   A Yes.                                                 12   having anything to do with that, no. No, I do
 13   Q Did you see him in the drunk tank before you         13   not.
 14    figured out why he was in the drunk tank?             14 Q When you saw Brian Gosser on February 26th,
 15   A No. The -- when we would walk in, we would           15   sitting down at the end of the block with the
 16     actually walk into the booking area, and the         16   towel on his face, with bruising on his face,
 17     drunk tank was on the other side.                    17   did you feel that he needed to ask for help to
 18   Q So did you have a discussion with another            18   be taken out, or could you have taken him out
 19     officer coming off that night shift about why --     19   right then?
 20   A Yes, that would have -- that would have been         20 A No, you -- we were -- we never took anybody out
 21     done. We always did our shift reports there          21   at that time. Because that would end up
 22     within the booking area.                             22   resulting in further -- worse issues.
 23   Q Was this a group discussion or was this a            23 Q Worse issues from whom?
 24     discussion you were having with Officer Lecher?      24 A The other inmates. Or Grider would say,"Why
 25   A It's always a group discussion.                      25   did you take him out?" You know, if they're
                                                   Page 55                                                    Page 57
  1   Q I referred to it as a "powwow" earlier this            1   going to be in there, they need to deal with
  2     morning.                                               2   being in there."
  3         Would that be a normal occurrence that the         3       We'd never -- unless they asked to be
  4     officers coming off each shift would talk about        4   pulled out, it was not a practice that we just
  5     significant things?                                    5   pulled them out because we felt like they needed
  6   A Yes, yes. Because we weren't -- not one person         6   to come out.
  7     could leave. We all had to leave as a group.           7 Q Well, there were other areas in the jail where
  8     We might have came in separately, but that shift       8   he could have been placed, correct?
  9     would not have been allowed to leave until we          9 A Possibly. But that was -- his housing was not
 10     were all clear on what had happened the night        10    an officer decision.
 11     before.                                              1 1 0 Was it an officer decision to put him in the
 12   Q And also in that paragraph, the paragraph there      12    drunk tank later that night?
 13     on page 5, you indicate that "the shift had told     1 3 A That would have been what was requested from the
 14     us that when we went back to do their initial        14    commander upon him coming back from being out on
 15     head count at 1900" --                               15    a medical trip.
 16   A Yes.                                                 16 Q I'm talking before he left for the hospital. He
 17   Q -- "he said that he needed help and he needed to     17    was taken out later in the night on
 18     get out of there."                                   18    February 26th and placed in the drunk tank.
 19   A Yes.                                                 19 A That -- I do not know who made that call. That
 20   Q Did they elaborate on that in any way?               20    would not have been a call that I would have
 21   A I just remember them telling us he passed them a     21    made, because then I would have been 50 kinds of
 22     note. And they actually walked out of the            22   questions, "Why did you do that?"
 23     block. I mean, if you got passed a note, you         23 Q Were you ever told that Commander Grider
 24     didn't open it up right there in the block. You      24   approved that placement?
 25     waited until you got outside the block.              25 A I never -- no, I don't recollect that.
[1 1/14/2018] Weesner, Teresa 11-14-18                                                                 Pages 54 - 57
      Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 6 of 8 PageID #: 825
                                                   Page 58                                                    Page 60
  1   Q Did you ever have any other discussions, after        1       So I was kind of -- the door opened -- let
  2     talking to Detective Manning on March 7th, with       2   me think about this. It would have been opened
  3     any other individuals investigating the death of      3 to the right. They were working inside the door
  4     Brian Gosser?                                         4   to the left. Andrew West was standing off to
  5   A No.                                                   5 the right. And I had kind of stepped in at an
  6   Q Were you ever contacted by anyone affiliated          6   angle to kind of keep myself between the workers
  7     with QCC about any investigations they were           7   and himself. And he reached up and grabbed the
  8     conducting?                                           8   back of my arm. Out of reflex, I bopped -- I
  9   A No.                                                   9 elbowed him in the chest and then bopped him in
 10   Q Were you ever asked to prepare any other             10   the chin, and bopped his jaws pretty hard. And
 11     statements or provide any other documents            11   he was ready to kill me. And he had already
 12     pertaining to the death of Brian Gosser?             12   assaulted one officer.
 13   A Nope.                                                13 Q What did you do in response to that?
 14   Q See, told you that stack wasn't going to be so       14 A My supervisor at the time, Yvonne Williamson had
 15     bad.                                                 15   me remove myself from the area, and she took
 16        So you left the jail sometime around the          16   over where I was at.
 17     middle of May 2016?                                  17 Q So that was January you said?
 18   A Yes.                                                 18 A I believe it was, yes.
 19   Q Can you tell us why you left the jail?               19 0 And that would have been before Brian Gosser was
 20   A I -- the stress level. I was over it. I was          20   at the jail?
 21     done.                                                21 A Yes, yes.
 22   Q Why? What was the stress level like?                 22 Q Is there something else that happened after?
 23   A Very high.                                           23 A There was an -- and I cannot remember when it
 24   Q What was causing it?                                 24   was. There was another fight that happened in
 25   A Part of it was my own personal -- for lack of a      25 the hallway at the jail between two inmates.
                                                   Page 59                                                    Page 61
  1     better term -- not to be blunt, but my balls got      1     And I was told that had I not put the inmates up
  2     small. I mean, you know, you had to go in there       2     in the order that I put them up, it would have
  3     with some level of fear and some level of "I'm        3     never happened; that it was my fault that
  4     the badass here." And I got to the point where        4     happened.
  5     I just got weak. And I just didn't feel like I        5   Q Who told you that?
  6     could go in there as strong a person that I           6   A Commander Grider.
  7     needed to be because I was truly scared.              7   Q How often would you say inmates were sent out to
  8   Q You were afraid to go to work?                        8     the hospital or emergency room for injuries
  9   A Yes.                                                  9     sustained at the jail?
 10   Q What made you afraid to go to work?                  10   A Not often at all.
 11   A A lot of it happened when I had an incident with     11   Q I've seen reference that there were times that
 12     a particular inmate and he made threats against      12     that was occurring on a monthly basis.
 13     me.                                                  13         Would that be accurate?
 14   Q Which inmate?                                        14   A I don't know that I could say "monthly." I
 15   A Andrew West.                                         15     mean, if it's in the records, I can't deny the
 16   Q When did those threats occur?                        16     records. To my recollection, I don't remember
 17   A Probably in January. I can't remember the exact      17     it being just every time you turned around it
 18     time. I just remember the incident. We had           18     was happening. Because most of them were the
 19    some -- they kept tearing -- him and a couple of      19    falls in the showers. It wasn't because an
 20    the other guys was housed in H Block, and they        20     inmate hit them, it was because they fell in the
 21     were tearing up the wires for the phones. And        21    shower. They fell off their bunk.
 22    there were some guys in there working to repair       22   Q Is that "fell in the shower"?
 23    those lines. Instead of taking the inmates out        23   A Fell in the shower. Yes. Fell off the bunks.
 24     while they were working, we were just told to go     24     Things like that.
 25    down there and stand.                                 25   Q But there would be times where that would be the
[11/14/2018] Weesner, Teresa 11-14-18                                                                   Pages 58 - 61
      Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 7 of 8 PageID #: 826
                                                   Page 62                                                    Page 64
  1     reason that was given and they would be sent          1   A That was the type of person he was. And I had
  2     out?                                                  2     taken a lot of time off work because I was so
  3   A Yes. One inmate is not going to come out and          3     stressed.
  4     snitch on another inmate.                             4   Q You had taken a leave of absence at some time?
  5   Q Sure, sure.                                           5   A I hadn't really taken a leave of absence. I
  6   A That's not going to happen.                           6     called in sick a lot. I had the hours. I had
  7   Q Sure. Let me ask you this question: Did you           7     the time that I could. I didn't do it enough
  8     have any reason to believe that Brian, when you       8     that would put my job in jeopardy. But I called
  9     saw him on the 26th, was faking anything, in          9     in and stated that I was basically sicker than
 10     terms of trying to get out of the block or get       10     what I really was. It was more just mentally
 11     out of the jail in any way?                          11     sick than it was physical sickness. So this was
 12   A I really can't answer that. I think that would       12     not something that I took -- I pondered over
 13     be a speculation. He did not seem to be in a         13     this for several days in order to do this
 14     lot of distress from what I would look at. I         14     because I knew he would call me a pussy,
 15     mean, obviously, if he's standing there with         15     basically.
 16     blood pouring out of his face, you've got to         16   Q Did he do that?
 17     take him out. I'm mean, that would be a given        17   A On more than one occasion, yes, we've been
 18     You've got to do something.                          18     called that, yes.
 19         To be sitting there in the position that he      19   Q Did he do it after you submitted this letter?
 20     was, no.                                             20   A I do not know because I -- honestly, one Sunday
 21   Q But there had been occasions where inmates have      21     afternoon I went into the bedroom and boxed up
 22    faked certain things to either try to get out of      22     all my stuff. Told my husband, I said,"Come
 23     the jail or get out of the block?                    23     on."
 24   A All the time.                                        24         He said, "Where are we going?"
 25   Q All the time. You resigned from the jail, you        25         I said, "You're taking me to the jail to
                                                   Page 63                                                    Page 65
  1     weren't fired, right?                                 1     turn all this in."
  2   A Correct. I voluntarily left.                          2          I took the box. I made four copies of the
  3   Q You put your resignation in writing?                  3     letter, addressed it to each one of them. Sat
  4   A Yes, I did.                                           4     it outside the commander's door with my keys
  5          (Deposition Exhibit 10 previously marked         5     outside the box and walked out the back door.
  6    for identification.)                                   6   Q So you never talked to him?
  7   Q I'm going to hand you what's been previously          7   A No.
  8     marked as Deposition Exhibit 10. We're going to       8   Q Have you talked to him since?
  9     turn to the page that's marked Henry County 751       9   A Absolutely not.
 10     in the bottom corner of that exhibit.                10   Q Have you talked to any of them?
 11   A Yes.                                                 11   A I talked to Major Davis on different occasions.
 12   Q Do you recognize that document?                      12     A lot of it has been to do with getting in
 13   A Yes.                                                 13     contact with me on this. He contacted me when
 14   Q Feel free to take a look at it if you want.          14     an officer passed away. He seen me out at the
 15     I'll represent to you it appears to be a             15     prison one day, because he drives that way to go
 16    three-page letter of resignation --                   16     home, and he passed me on the road. He gave me
 17   A Yes.                                                 17    a call to see how I was doing.
 18   Q -- that you signed and submitted on May 2nd?         18         But then the only other conversation I had
 19   A Yes. This was not a decision that was made           19    with him on this was,"Hey, this person's going
 20     lightly on my part.                                  20    to be getting in contact with you in regards to
 21   Q Well, can you explain that for me?                   21    this. Just to give you a heads-up so if you see
 22   A I was -- because I felt like I went weak, I knew     22    this pop up, you'll know." And gave me the
 23    that Commander Grider would make fun of me and        23     phone number so that I would know what it was in
 24     my weakness. I don't mean to be crying.              24    reference to. But as far as anything else, no.
 25   Q That's okay.                                         25   Q If you would, turn to the second page of your
[11/14/2018] Weesner, Teresa 11-14-18                                                                   Pages 62 - 65
      Case 1:17-cv-03257-TWP-MPB Document 106-7 Filed 05/29/19 Page 8 of 8 PageID #: 827
                                                   Page 66
  1     letter.
  2   A (The witness complies.)
  3   Q The first full paragraph there, "I further feel
  4     like there is."
  5          Do you see that?
  6   A Uh-huh.
  7   Q "More of a demand of certain tasks asked of us
  8     officers to do on the floor."
  9   A Yes.
 10   Q And you indicate you're most concerned with the
 11     amount of medical issues that you're required to
 12     deal with on a daily basis?
 13   A Yes.
 14   Q What type of medical issues are you referring to
 15     there?
 16   A From what I remember, just keeping an eye on --
 17     gosh, I honestly cannot even remember. It was
 18     making more observations, like, if somebody
 19     was -- that they were sick and put them in the
 20     drunk tank. Make sure, you know,"Are they
 21     vomiting? Are they doing this? Are they doing
 22     that?" Observations like that, that were --
 23     we're not meant -- we can't tell you if
 24     somebody's -- well if they vomit, you know, see
 25     if it's blood. Well, okay, you gave them red
                                                   Page 67
  1     Kool-Aid. Is it blood or is it Kool-Aid?
  2        I'm not a medical person to make that
  3     decision.
  4   Q You didn't feel like you were qualified to do
  5     those observations?
  6   A Absolutely not. Like I said, you vomit bread,
  7     but they had pasta with, you know, red sauce for
  8     lunch. I'm not qualified to distinguish what
  9     the two is.
 10   Q And you indicate there when you indicate that
 11     you're required -- you were required at that
 12     point in time to do more medical observations
 13     and document those observations.
 14        Do you feel that that was something that
 15     increased in 2016, right before you resigned --
 16   A Yes.
 17   Q -- from prior years?
 18   A Yes.
 19   Q And you also talked about "When it's up to us to
 20     medically assess and document hourly blood
 21     pressures and pulses."
 22        That's something that you -- did you feel
 23    that that was above and beyond just going to the
 24     machine and pressing the button and reading the
 25     numbers?
[11/14/2018] Weesner, Teresa 11-14-18                                            Pages 66 - 67
